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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )                  No. 21-cr-123 (PLF)
                                          )
VITALI GOSSJANKOWSKI,                     )
                                          )
            Defendant                     )
__________________________________________)

                      PARTIES’ JOINT STATEMENT OF THE CASE

       Pursuant to the Court’s February 24, 2023 Order, the parties have met and conferred and

propose the following brief statement of the case to be read to the jury during voir dire:

         The government has charged the defendant, Mr. Vitali GossJankowski, with six crimes
relating to Congress’s Joint Session at the United States Capitol on January 6, 2021, to certify the
Electoral College vote for president. First, he is charged with obstructing, impeding, or
interfering with a law enforcement officer during the commission of a civil disorder. Second, he
is charged with obstruction of an official proceeding. Third, he is charged with assaulting,
resisting, or impeding an officer of the United States Capitol Police Department with a deadly or
dangerous weapon, that is, a stun gun. Fourth, he is charged with entering or remaining in a
restricted building or grounds with a deadly or dangerous weapon. Fifth, he is charged with
engaging in disorderly and disruptive conduct on restricted Capitol grounds with a deadly or
dangerous weapon. And sixth, he is charged with engaging in disorderly conduct within the
United States Capitol Grounds.

       Mr. GossJankowski has pleaded not guilty to all charges.

                                                             Respectfully submitted,

                                                             A.J. KRAMER
                                                             FEDERAL PUBLIC DEFENDER

                                                             ______/s/__________________
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